
34 Cal.App.2d 573 (1939)
THE PEOPLE, Respondent,
v.
LOUSTON SAMUEL, Appellant.
Crim. No. 390. 
California Court of Appeals. Fourth Appellate District.  
September 15, 1939.
 No appearance for Appellant.
 Earl Warren, Attorney-General, and H. H. Linney, Deputy Attorney-General, for Respondent.
 Marks, Acting P. J.
 This is a motion to affirm the judgment under the provisions of section 1253 of the Penal Code.
 [1] The clerk's and reporter's transcripts were filed with the clerk of this court on August 18, 1939. The case was placed on the calendar of September 12, 1939. No brief has been filed on behalf of appellant and no appearance was made for him when the case was called for argument.
 The judgment and order denying the motion for new trial are affirmed.
 Griffin, J., concurred.
